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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
                                      Boston Division

____________________________________
                                    )
ANTHONY BUTLER                      )
                                    )
            Plaintiff               )
                                    )
v.                                  )
                                    )                C.A. No.: 1:18-cv-10191-PBS
THE SHERATON OKLAHOMA CITY          )
DOWNTOWN HOTEL, THE SHERATON )
LLC, STARWOOD HOTELS & RESORTS )
WORLDWIDE, LLC, MARRIOTT            )
INTERNATIONAL, INC.,                )
LIFE FITNESS, INC. and              )
BRUNSWICK CORPORATION               )
                                    )
            Defendants              )
____________________________________)


                    JOINT SCHEDULING CONFERENCE STATEMENT

        Pursuant to Fed. R. Civ. P. 16(b), Local Rule 16.1, and the Court’s February 5, 2018 Notice

of Scheduling Conference, the plaintiff, Anthony Butler (“Plaintiff”) and the defendants, the

Sheraton Oklahoma City Downtown Hotel, the Sheraton LLC, Starwood Hotels and Resorts

Worldwide, LLC, Marriott International, Inc., Life Fitness, Inc. and Brunswick Corporation

(collectively, the “Parties”), have conferred on a plan for motions and discovery and submit the

following joint statement:

   I.         Proposed Agenda of Matters to be Discussed at Scheduling Conference



         A.      Settlement proposals and status;

         B.      Proposed discovery and motion schedule;
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        C.      Pending Motions

        D.      Reassignment to a magistrate judge;

        E.      Mediation through ADR program;

        F.      Certifications Pursuant to local rules

        G.      Other matters, if any.



II.          Settlement Proposals and Status

             The Parties have discussed the topic of settlement.       The Plaintiff provided the

       Defendant, Life Fitness, Inc. and Brunswick Corporation with a settlement proposal on

       Friday, February 23, 2018. The Plaintiff provided the Defendants, The Sheraton Oklahoma

       City Downtown Hotel, The Sheraton LLC, Starwood Hotels & Resorts Worldwide, LLC,

       and Marriott International, Inc., with a settlement proposal on Wednesday, February 28,

       2018. Defendants Life Fitness, Inc. and Brunswick Corporation conveyed an offer of

       settlement to Plaintiff on March 14th, 2018. Plaintiff has rejected that offer. Defendants,

       The Sheraton Oklahoma City Downtown Hotel, The Sheraton LLC, Starwood Hotels &

       Resorts Worldwide, LLC, and Marriott International, Inc. have not responded to Plaintiff's

       settlement proposal.

III.         Proposed Timetable for Discovery and Motion Practice

             A. Initial Disclosures. The Parties will exchange initial disclosures pursuant to Fed.

                R. Civ. P. 26 (a)(1) and this Court’s Notice of Scheduling Conference no later than

                fourteen (14) days after this Court rules on the pending Motions to Dismiss.

             B. Amendments to Pleadings. The Parties agree to amend their pleadings, and join

                any additional parties, on or before Friday, June 29, 2018.


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 C. Fact Discovery – Interim Deadlines.

    1. The Parties agree that they will serve initial requests for production of

        documents, interrogatories and admissions by April 23, 2018.

    2. The Parties agree that they will serve supplemental requests for production of

        documents, interrogatories and admissions July 6, 2018.

    3. The Parties agree that they will take all depositions other than expert

        depositions by Monday, September 24, 2018.

 D. Fact Discovery – Final Deadline. The parties agree that all discovery, other than

    expert discovery, will be completed by Monday, September 24, 2018.

 E. Proposed Status Conference. The Parties request that the court hold a status

    conference during the week of October 22, 2018.

 F. Expert Discovery.

    1. The Plaintiff’s trial experts will be designated, and the information

        contemplated by Fed. R. Civ. P. 26(a)(2) will be disclosed, by Monday, October

        27, 2018.

    2. The Defendants’ trial experts will be designated, and the information

        contemplated by Fed. R. Civ. P. 26(a)(2) will be disclosed, by Friday,

        November 30, 2018.

    3. The Plaintiff’s trial experts will be deposed by Monday, January 7, 2019.

    4. The Defendants’ trial experts will be deposed by Monday, January 14, 2019.

    5. The parties agree that the plaintiff’s experts shall be deposed first, with the
       defendants’ experts’ depositions to follow thereafter and that the defendants
       will designate their experts prior to the depositions of the plaintiff’s experts.
       The parties further agree that three dates on which the experts are available for
       deposition must be provided with the disclosure.


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             G. Dispositive Motions.

                 The Parties agree that dispositive motions, such as motions for summary judgment

          or partial summary judgment and motions for judgment on the pleadings, will be filed by

          Friday, February 15, 2019.

             H. Initial Pretrial Conference.

                 The Parties request that this court hold an initial pretrial conference one month after

          the court’s order on the Parties’ motions pursuant to Fed. R. Civ. P.R. 56, if any; otherwise

          to be scheduled on or about Friday, March 15, 2019.



    IV.      Pending Motions

             A. Defendants, Life Fitness, Inc.’s and Brunswick Corporation’s Motion to Dismiss

                 All Claims for Lack of Personal Jurisdiction 1 ;

             B. Defendant, The Sheraton LLC’s Motion to Dismiss filed in the Superior Court of

                 Massachusetts ;

             C. Defendant, The Starwood Hotels & Resorts Worldwide, LLC’s Motion to Dismiss

                 filed in the Superior Court of Massachusetts.

    V.       Reassignment to Magistrate Judge

             At this time, the parties do not consent to reassignment to a magistrate judge

    VI.      Mediation through ADR program

             The Plaintiff is open to mediation and believes that the process has a reasonable




1Defendants, Life Fitness, Inc.’s and Brunswick Corporation’s Motion to Dismiss All Claims for
Lack of Personal Jurisdiction is still pending and is scheduled for hearing in this Court on March
22, 2018 before the Scheduling Conference in this matter is to begin.
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       possibility of success.    Defendants Sheraton Oklahoma City Downtown Hotel, the

       Sheraton LLC, Starwood Hotels and Resorts Worldwide, LLC, Marriott International, Inc.,

       Life Fitness, Inc. and Brunswick Corporation are also open to mediation to resolve this

       matter.

   VII.    Certifications pursuant to local rule 16.1 (d)(3)
           The Parties will file their respective Certifications pursuant to local rule 16.1 (d)(3)

           signed by representatives of the parties and their counsel, on or before April 4, 2018.



   VIII. Other Matters

       Defendants Life Fitness, Inc. and Brunswick Corporation have requested information as to

the serial number of the subject machine, the location of the subject machine, the age of the subject

machine, the location of the cable on the subject machine that is alleged to have snapped, and the

manufacturer of the subject cable. Such information may have an impact on these proposed

discovery deadlines.




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Respectfully submitted,

PLAINTIFF,                                   DEFENDANTS,
ANTHONY BUTLER                               THE SHERATON OKLAHOMA
By his Attorneys,                            CITY DOWNTOWN HOTEL;
                                             THE SHERATON LLC;
                                             STARWOOD HOTELS & RESORTS
                                             WORLDWIDE, LLC and MARRIOTT
                                             INTERNATIONAL INC.
                                             By their Attorney,


/s/ Kelly Wallace Ianelli_________           /s/ Andrew J. Fay____________
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 LIFE FITNESS, INC. and
 BRUNSWICK CORPORATION
 By their Attorneys,




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                             CERTIFICATE OF SERVICE


       I, Kelly Wallace Ianelli, hereby certify that on March 19, 2018, a copy of the
foregoing document was served on all registered participants identified on the Notice of
Electronic Filing by filing of same through the ECF system.




                                            /s/ KellyWallace Ianelli
                                            Kelly Wallace Ianelli




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